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REVISED CLAIM $ :
__ The First Amendment states, "Congress shall make no law respecting an establishment of B
v" religion.” The U.S. has been violating the Constitution of America in the last 75 years when >

S Congress made law to send money and arms to Israel to establish its own religious democracy 2 6

4 country called "Judeo democracy of Israel" on recent stolen land in the Middle-East; which has --

© been under controlled by a religion called Islam for the last 400 years in a country called oO ¢ z
3 Palestine; which is a prize land called the Holy land WHERE JESUS WAS BORN AND =

1 8 with some conscience to preserve almost all God’s human children and religions, | suffered

MUHAMMAD DIED AND WENT TO HEAVEN: and which has an oil well in Gaza. As a taxpayer (2 9: a
uw. __anger, sadness, shame, guilt, fear, and paranoia that my tax funded this animatistic humanity for x o-

“hgkilling, possibly burning, and bombing babies in this |srael-Hamas war. My life was affected by = =
Telinquishing my genocide American citizenship, and resorted to a deeper jail-like life to avoid Ie JL ‘3
ye jihadi attacks, jihadhi-machoness fueling America’s gun violence, and a WWWillonAmerican 2 U9
\ - soil. The Constitution via First Amendment demands a letter to be sent to Congress to stop the
4 funding of non-food-water-fuel-medicine and arms to Israel, or pay me $25,000 to write this Wo
lawsuit, my expense to leave America eternally, and start saving $5 trillion to pay for a WWWIII. S =

(NOTE 1: This land is known as the Holy land: (1) where God's son Jesus of Christianity was born; (2) where Israelis =
of Judaism are using their Torah to answer their God's instruction to retum to their ancestors’ homeland of 2,500 ak
years ago via their Zionism even though their ancestors (the ancient Jews) nailed Jesus; (3) where the Hamas SA
militant-terrorists say their Islam's Muhammad died and went to heaven (this probably justified their violent motto to st)
die for Istam under martyrdom); (4) where the Bible of Christianity tells its churches to rebuild God's kingdom for the N“N
second coming of Jesus; (5) where Iran and Osama Bin Laden said they are fighting to defend their !slam; (6) where

the female Buddha named Trang, or I, think my God (the Sun) wants me to enter the battle scene of the men of the 5 tQ

humanity by crawling out of her semi-homeless life on disability checks and ex-Infoseek-and-women.com credit cards 9

to inject Buddha's reincamation theory of life from Hinduism as punishments, and predicts more future God's g 9S
representatives: (1) A gay Latino person for gay pain, {2) A black African man thanks to South Africa’s genocide C
lawsuit against Israel (and as soon as black South Africans stop killing the white South African farmers as revenge .

after apartheid ended), and thanks for the pain of the black Americans in slavery and segregation (and as soonasthe +: Cc
blacks around the world go to college); (3) An indigenous American man to represent all indigenous people whose

land and natural resources were stoten by the biggest thieves in humanity so far (the Christians and even the Israelis + lg
for stealing Palestine—A thief of a fat luxurious diamond of India, and even humans in the buying of kidnapped kK
Africans into American stavery via capitalism; and as soon as his indigenous people go back to college); and (4)A v3 ww)
blonde-haired-blue-eyed American man many thanks to the painful martyrdom of a kind-of-white-white American = * => cb
young man of 25 years old named Aaron Bushnell for having some compassion for the sufferings of people outside * B cy
his race, caused by his race and country, with his suicide for burning himself while wearing his American military rx OQ =>
uniform to demand for a free Palestine from colonialism and end of massive genocide in Gaza (he probably wants the \, ) 2S
retum of all hostages from the Hamas and thousands of administrative detention prisoners with no formal charges in <2 2
Israel's democracy system) in front of the Israeli American embassy on 2/26/2024 (As soon as I,Trang, the hardcore 2 =z >
heterosexual female with hardcore heterosexual eggs philosopher, teach his white race not to be so gay ifthey are © Y ‘Ss.
not really gay). a :

NOTE 2: The American democracy’ is a semi-religious system for it was created by Christianity's Protestants comin
to America from England away from their kings and queens for freedom of religion. Its democracy's equality concept
is pulled from the religious text of Judaism of “all men are created equal” which are forewords of the country's
contract called the Constitution. If this democracy of Christianity and Judaism controls the Holy fand where Jesus
was bom and where Muhammad died and went to heaven, in fast speed, this democracy of equality will yank out
their gays from the closets to jump out dancing happily and safely in nearly nude female undergarment outfits in gay
raves and music festivals (like the one next to Gaza with all those poor young people who were killed and kidnapped
while dancing in ecstasy into the ears of barbaric Gazan men who were taught to cover their women in extreme
conservativeness of black sheets). All this will take place next to the exact location where your Jesus was bom, and
where your Muhammad died and went to heaven. Scary and so sinful.)

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God’s/Allah’s Punishments on Those Committed the Two Genocides

in the Israel-Hamas War
By Mai-Trang Thi Nguyen or Trang

(The female Buddha carrying the reincarnation theory of Buddha via Hinduism or the hardcore heterosexuality of
God/the father of Jesus/Allah/Krishna/Ong Troi/ etc. living as a Vietnamese hardcore-heterosexual female with
hardcore-heterosexual eggs.)

Oh Israel on 2/18/2024 (7:02 p.m.):

| can understand your difficulty to have an all-out revenge on your enemies because | went
there, too. The differences between me and you are that | am not a country nor do have access to guns
and Satan’s many free American freedom-and-equality-especially-for-the-gays bombs to bomb my
enemies’ children into pieces when their children never voted for the Hamas terrorists as their
government. If you continue to bomb South of Gaza, your children and grandchildren will be punished
very badly for taking Satan’s route to bomb out the $00,000 Gazan children living that last place of Gaza
you haven't flattened.

Israel, for the sake of your children and grandchildren, have mercy on your enemies’ children,
because your parents, grandparents, and great grandparents were praying for Hitler and the Nazis to
have mercy on them before they were gassed, starved, and worked to death as collective punishment of
God’s punishment for your ancient Jews’ nailing his son Jesus. You can show to your enemies and the
world that you are not Hitler and the Nazis by having a ceasefire permanently and demand everyone to
return their loved ones in Hamas’ hostages and in your prisoners in this great administrative detention
with no formal charges as a Jewish democracy government.

You might not see this because all this bombing is blocking your Israeli hearts’ view, but your
bombing is releasing so much poisonous gas such a tight military-gated land, it will make your enemies’
children will develop some kind of cancerous illness. This might not be as bad as the enclosed gas
chambers of the Nazi camps, but it fits in an introduction version (it might not kill them now, but it will
kill them later with many illnesses and birth defects). Your blocking of truck aids just killed one
Palestinian little girl 2 days ago from starvation and dehydration. This is an introduction version of Hitler
and the Nazis’ starvation of your people. You forcing the Gazans to walk around like chess pieces across
20-mile zone land with tiny food and no water is an introduction version of Hitler and the Nazis forcing
your people to do manual work digging their own graves with no food (and probably no water). Guess
what happened to Hitler and the Nazis after their war? Suicide, jail, the division of their land, and
migration of some of their people. | fear this will be the fate of your children and grand-children, Israel.
If you stopping the bombing now, you will have courage to show your enemies and the world that are
you not Hitler and the Nazis, and your enemies and the world will forgive your children and
grandchildren a little more—They will suffer less in antisemitism via the Nazis, KKK’s, and even some
blacks in America now after they migrate back to Germany, and to America, England, France, and other
Western countries in exchange for the millions of Muslims and Palestinians out of those Western
countries to return to their Muslim countries, Palestine, and Gaza. Of course, all this might occur after

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we die of old age for the future generation of humanity is very inclined to fix the mistakes of their
parents and grandparents.

If there is a God, if it was God’s punishment of the descendants of the ancient Jews for nailing
his son Jesus in Hitler Nazi’s genocide of 6 million poor Jews as collective punishment, and if God or Allah
is punishing the Gazans right now for voting for the Hamas terrorists as their government who fought
back using poor people’s tactics of kidnapping children along, animalistic killing of infants, and
animalistic hunger for raping women and decapitating bodies to fight back against 75 years of your
colonialism of 75% of their land, wiped out their country; s name Palestine and replaced it with your new
country’s name Israel, and your cruel apartheid system in Gaza and in the West Bank and stealing more
land in the West Bank with your settlers and American settlers, while preaching freedom and equality. |
fear for the pain of the Israeli children having with deal with those cruel and evilness of Nazis and KKK all
over again after they are forced to live Israel and migrate to Germany, America, England, France, etc. to
exchange for the millions of Hamas sympathizers living in those countries.

Oh, | also predict that | will be UNLUCKY live SO long, THAT | WILL BE TRAPPED IN EITHER A
WWIWIII OR A 2%° CIVIL WAR IN AMERICA SO I AM ALSO WORKING HARD TO SAVE MY FUTURE LIVING
ELDERLY BODY IN VERY BIG WAR(S). TAKE CARE ISRAEL. TAKE CARE HAMAS.

Oh, Israel on 2/18/2024 (7:11 a.m.):

| can understand your difficulty to stop an all-out revenge on your enemies when Satan keeps
sending his free American freedom-and-equality-especially-for-the-gays bombs to kill your no-freedom-
no-equality-especially-for-the-gays enemies and their children to death to protect yours, your women’s,
and your children’s survival after your rat enemies dared to impose harm on you, your women, and your
children even though you are their conquerors in most of their land, and their rulers controlling their
freedom and equality while teaching them your Jewish religious words of “all men are created equal.”
Israel...didn’t you get the memos from your white Christian buds that it was too late to this this God’s
colonizing work in today’s time? Perhaps your parents and grandparents didn’t get the memos while
they were living in Hitler Nazi’s gas-warehouse camps before England flew them out into England’s
stolen Palestine land to allow them to rebuild their tortured hearts and lives after WWII. Israel...the
animals, like me as a roach, have enhanced their brains in college education and developed skills to
make their own money and bombs (even nuclear bombs) and learned the art of human’s reasoning
using thousands of Bibles, 3 main God’s representatives (Christian’s Jesus, Islam’s Muhammad, and
Hinu’s Buddha}, zillion versions of God, gazillions of self-help places like TV, books, radio, the internet,
podcasts, etc. to “control out animal urges” to follow the path of God/the father of
Jesus/Allah/Krishna/Ong Troi/etc., and not the path of Satan or else we humans will be punished with
“what goes around comes around” or karma with our future young generation fixing our mistakes and
the mistakes of their ancestors when we die. | could be wrong, but at least | try myself to help reduce
the pain of your children and grandchildren as the work of not a random human, but the work of
someone who might be able to predict the future as the female Buddha

The Christians, especially America, England and even France, are using you as their proxy to do
their dirty work with their free bombs and arms to steal their Jesus’ land so one day they will come in
and steal it from you. They don’t care about you. They care about the prize Holy land because they

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don’t have what the Italians and Spanish have (the Vatican City, Jesus’ Bible, Jesus’ body, etc., and the
ones conquering the Americas first: Jesus and Maria’s biggest continent). Find it in your Hitler Nazi’s
tortured hearts and end this bombing in South of Gaza where 900,000 Gazan children are sheltering and
they never voted for the Hamas terrorists as their government. The Jews in Nazi's camps never nailed
God's son Jesus so they should never been collectively punished them Christians via Hitler and his Nazis.
Hitler and the Nazis followed Satan’s path to do collective punishment on your parents, grandparents,
and great grandparents, and | am sure them were praying for mercy on what's left of humanity hoping
Hitler and the Nazis would release them. The hearts of Hitler and Nazis failed to do it, but your Jewish
hearts can if you allowed your scarred hearts to think: OK, | get it, my ancient Jewish ancestors nailed
their Jesus so that was why they were so evil to me as collective punishment and | sure thought
collective punishment on my people was wrong. | don’ know, perhaps my ancient Jews were driven out
of their land (located where the Hamas and their people have been living for 400 years called historic
Palestine, but now Israel) as punishment by God because they nailed God’s son. OK | understand now
the Hamas and their people are fighting for land which they claimed their Muhammad died and went to
heaven. OKI can understand why the Hamas and the Palestinians fought back so evil and hard because
we Israel shoved them into their own ghetto section and treat them like animals in big open-air jail when
we are singing “democracy, freedom, and equality” with our half-naked beautiful, happy, Jewish women
dancing in a free-open-air rave next to the Gaza jail where men are used to bed-sheet-covered females.

For the sake of your parents, grandparents, and great-grandparents standing inside the gas
chambers of Hitler Nazi’s camps praying in their last minutes for what’s left of humanity to save them from
dying of collective punishment from their ancient Jews’ nailing of Jesus, do it for your parents,
grandparents, and great-grandparents by pardoning the children in South of Gaza who never voted for the
Hamas by stop the bombing South of Gaza and have a permanent ceasefire now. Prove that you Israelis
are better than Hitler and his Nazis or else look at the fates of Hitler, the Nazis after WWWII (suicide,
prison, land broken up with half to be given to Russia). As further punishment, Germany will have to take
in a million Jews back to their Christian German land so the million Muslims taking in by Merkel to return
to their Muslim land after we die with our young children doing reparation work. Same fate for America,
England, France, and all Christian countries, even India and Japan (for supporting Israel during this war)—
Less Muslim terrorist in your Christian countries, but more Jews for taking Satan’s path of destruction is
never a permanent solution with God’s punishment of “what goes around comes around” or karma.

Most importantly Christians and Jews, perhaps your Christian religion is too gay for God to allow
to you control the land of his son Jesus. It was your Christian people via the help of the Jewish religion of
“all men are created equal” that made Christian nations or Western nations heaven of the gays for gays
benefit the most in your Christian nations or Western nations. Perhaps you Christians don’t cover your
Jesus’ naked sexy crotch so it encourages homosexuality even more inside churches with your closeted
priests raping your poor choir boys.

OK 1am done. My arthritis and tendonitis are done with you human animals. Off to prepare for
a WWWIII and American 2™ civil war while praying for my survival. Take care my human animals.

Oh, Israel on 2/17/2024 (5:01 p.m.):

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In my animalist revenge (humans, like animals, still need fight for their survivals), | can
understand it would be hard to resist the seductions of Satan with all his free and obese American
bombs and all his chants from America and Europe praying how manly of Israel is to rain down more
bombs into South of Gaza killing more and more Gazan children (1 Palestinian child just died of
starvation and dehydration as reported on Al Jazeera 2/17/2024) who never voted for the Hamas
terrorists for the killing and raping a few of my precious white-looking Israeli children and women, even
though | stole the most of the Hamas terrorists’ and their people’s land, wiped out their country’s name
of Palestine and replace it with my new country’s name of Israel, and jailed the left-over stubborn
animals who refused to leave Israel in an open-air jail while preaching my Jewish religious words of “all
men are created equal” and equal rights for everyone including the gays. ONLY GOD CAN HELP YOU
NOW ISRAEL. NO MORE SATAN’S BOMBS IN SOUTH OF GAZA. TELL THE ANIMALS THAT YOUR GOD
USED SOMEONE OFF THE INTERNET TO TYPE THIS LETTER TO DEMAND THAT YOU MUST STOP THE
BOMBING FOR SAKE OF NOT KILLING ANYMORE OF THE ENEMIES’ CHILDREN BECAUSE SATAN’S PATH IS
NOT THE PATH FOR PEACE BETWEEN ISRAEL, NETANYAHU AND HIS BUDS, HAMAS, AND THE
PALESTINIANS.

OK Israelis, Americans, white and ethnic people in Western countries, India, and Japan 2/16/2024:

| think that God/Allah created Hitler’s German Nazi genocide for killing 6 million poor Jews to
punish the ancient Jews (ancestors of the Israelis) for nailing his son, Jesus. Therefore, |, think,
God’s/Allah’s punishments for Israelis (the descendants of those who nailed Jesus) for trying to steal all
the land of Jesus in the last 75 years and now (currently as historic Palestine where Jesus was born) and
all those countries who helped the descendants of the people who nailed Jesus to steal Jesus’ birthland
are the followings (it will be the reparation work of our future generation who wants to fix the mistakes
of their parents and grand-parents while saving the environment not using war via extreme boycotting):

A. Israel to return all the stolen land to the Palestinians and only keep what England gave to the
surviving Jews from Nazi’s camps.

B. The volunteering expulsion all the Israelis who don’t have direct ties with the poor Jews who
were jailed in Nazi camps into America, all Western countries, and India (Indians spying for Israel
living in Iran) and Japan (cutting off UNWRA funding while Gazans need it the most from
starvation, diseases, and dehydration).

Yes, God or Allah (same thing in my view) is using you, Netanyahu, his war buds and IDF, and
donated American freedom-equality bombs to punish the Hamas terrorist animals, Palestinian terrorist
animals, Gazan terrorist animals, and Gazan children terrorist animals (even the 5 Gazan premature-
incubator baby terrorist animals who died around the first month of battle because electricity was cut off
by Israel) in the last 4.2 months for their actions, celebration, and denials of a tiny-tiny genocide of:

A. Shooting a poor colonizing-settler Israeli infant in his/her crib.

B. Possibly burning still-alive-after-getting-shot-at poor colonizing-settler Israeli baby(ies) in the fire
along with Israeli colonizing-settler adult carcasses.

C. Kidnapping poor colonizing-settler Israeli infants(s) and toddlers to be used as precious war
bargaining chips while being fed with milk and carried by your terrorist animal enemies. It’s
scary and painful to think that your poor kidnapped Israeli’s tiny children are living in a tiny land
currently being punished by you, Netanyahu, his war buddies, and America as you and they are
trying to locate them poor babies by raining down free American bombs, blocking food trucks to

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create starvation, and deliberating cut off water to create illnesses, diseases (hepatitis-A just
erupted), and dehydration. Yes, | also see the pain of you Israel and even Netanyahu along with
his war buddies and IDF for feeling the highest number of HUMAN deaths in a terrorist
attack/war in one day during the last 2 decades (1,139), and 200 people kidnapped with 8,730
people injured even though you are the poor recipients of a tiny section of free stolen
Palestinian land from the British colonizers as you were coming out of Hitler’s Nazi gas
concentration camps during WWII that killed 6 millions of your Jews; and in the last 75 years,
you became colonizers and settlers of 65% more of Palestinian land, in which for the last 400
years was the place where the ancestors of the terrorist rats (the Hamas), the Hamas terrorist
rats who was formed in Gaza, the Gazans (Palestinians living in Gaza), the Palestinians in the
West Bank, the Palestinians driven out of land living in Egypt, Lebanon, Jordan, America,
England, France, etc. Most importantly dear Israel and America, the Hamas terrorist rats said
this is the land where their beloved Muhammad died and went to heaven, and we, Western
countries, deliberately stole that “religious” land from them so that is probably why we see
those evil, violent, suicidal, and religious Islamic jihadis in our land killing our children. | also that
this is also the same land where your ancestors, Israel, lived in 2,500 years ago; however, | also
know that your ancestors, Israel, the ancient Jews were the one who nailed God’s son, the Lord
Christ. Of course, | know very well that this is land where the Christian’s Lord Jesus was born so
that’s why America, England, France, and rest of the Western countries are willing to destroy the
safety of their children, country, and religious and democracy concept of “all men are created
equal” by sending you free bombs and weapons to bomb off all the terrorists in Gaza (people of
Gaza) while stealing the terrorists’ also-religious land that sits top of a massive oil well which
Netanyahu has already procured 6 contracts from oil companies to dig; and with Gaza sitting
next to the beautiful seaside view looking out into the romance between Africa and the Middle-
East as soon as all the Gazan rats are bombed off. All this stealing and killing work of religious
land (the Holy land) and oil-rich land of Gaza while using the Bible while hiding under the
Western words of “war against terrorism.” This is return of the Roman empire with the Western
empire coming back to fight the Otteman empire to reclaim the Holy land. However, the main
difference is this fight is the military of ancient swords, horses, girly Roman pleated skirts are
now replaced with atomic bombs, rockets, and crazy jihadis in robes. Oh goodness, you men,
your women, and your children will never learn without “tui”, Trang, as a hard-core heterosexual
female with hardcore heterosexual eggs.

are fighting hard because they are jealous that the Southern European countries (Italy and its
buds of Spain and Switzerland) have the Bible of Jesus via the Vatican City of, and they have
nothing but Jesus biggest Christian land (America) siting in Jesus’ biggest continent (the
Americas), divorce-permission of Jesus via Church of England, and Jesus’ hot fashion and hot
language of the France.

|, as revengeful animal and an American banana, can think it is genocide against their occupiers,

because those poor Israeli infants and children never had a chance to vote for Netanyahu and his IDF to
be their government who impose such an inhumane apartheid system on their indigenous people (the
Gazans, the Palestinians, and the Gazan violent militant group called the Hamas) whose land got stolen
(75% and still losing more) while Netanyahu, his IDF, and most Israelis call themselves a civilized
democracy white people. Those poor Israeli children never chose to come to steal Palestine and
renamed it as Israel (the land where the Hamas said their Muhammad died and went to heaven, the land

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where the Christians said their Lord Jesus Christ or God’s was born, the land where the ancient Jews
(ancestors of the Israelis) who happened to nail God’s son Jesus lived 2,500 years ago). To an animal like
me, babies (even premature babies in incubators) and people under 18 represent life of earth, humanity,
a race, a religion, a type of people, a piece of that land, etc. Because we live in today’s humanity with
tons of bibles, religious books, many versions of God here and there being thrown in our faces, a billion
self-help books/websites/radios/podcasts, etc. to help us humans control our animal instincts, | (a
hardcore-heterosexual female with eggs) learned that harming people under 18 years old constitute a
genocide even if they and their adults are the first to hurt me (so | must wait until they are 18).

Now let’s discuss how God or Allah would punish Israel as the result of “civilized’ democracy
Israel, “able to be reasoned with” Netanyahu and his “humans and not animals” IDF in their animalistic
revenge with generous-free-obese American bombs and probably guns from “nice guy” Biden and the
great democracy of America. |, Trang, think the solution is for Gaza to be the Vatican City of
Muhammad's religion with its own control of drinking water from the river via the “from sea to river”
chant to pay for the sacrifice of those 5 dead Gazan incubator babies. Replace the name West Bank to
Palestine as its own country of its own government and military, with no trace of any paw prints of the
Israeli government and its army, police, and settlers. Kick out all Israeli and American (militia men and
cowboys) settlers and hand them handsome fat checks for their hard work building the freeways and
infrastructure of the land they are stealing and already in the West Bank in which the U.N. condemned.

If this aforementioned is not possible, then our children and grandchildren will fix their parents’
and grand-parents’ mistakes and turn Israel into a finally legit country (recognized by the U.N.) under the
name of Israel-Palestine with the “true democracy” of allowing the returning of millions of Palestinians
from Egypt, Lebanon, London, New York, America, etc. which will make Israelis the minority citizens (as
what God truly intended when the British only gave the Nazi-camp Jews a tiny piece of Palestine to live
and rebuild their tortured lives after the genocide of 6 million jews in Europe). However, your future
Israeli generation will finally get peace and happiness living under true democracy laws that will protect
them from being bullied and hurt by the Palestinian young generation. It will be true democracy in the
Middle-East (right next to Africa). Those rich ex-settlers of the West Bank (American militia men from
the North East of America and church cowboys) can use their fat checks to buy off properties around the
place where their Lord Jesus was born and get permits to build their white people’s churches (not
Palestine people’s churches). | believe their Lord would approve of this path because it involves no
stealing and killing of indigenous people under their Lord’s name.

Below is a list of acts which constituted a genocide in Gaza and even in the West Bank released
by the hurt and hate of the Israelis, Netanyahu, his IDF, and the settlers in the West Bank (Israelis and
Americans) in their animalistic revenge against the Hamas and its people:

A. The deaths of 5 poor premature Gazan babies during the first 4 weeks of this war because
Israeli democracy deliberately cut off electricity, prevented fuel from entering Gaza via aid
trucks, and refused to allow dozens and dozens of premature Gazan babies in the incubators
to leave Gaza before showering down American generous-obese bombs in Gaza.

B. The deaths of 12,000 of Gazan children, 100 deaths of the West Bank children (one
Palestinian child was attacked with blood spilling out by an IDF dog in a house raid according
to Al Jazeera News), the missing of 2,000 Gazan children, the physical disability of 8,500
Gazan children, 19,000 Gazan orphans with no parents to take care of them during this war,

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and lastly, the total of deaths of Palestinians is 28,000, total missing is 7,000, and total
injured is 67,000.

1. Netanyahu said that the numbers are quoted by the lying Hamas terrorist animals
government, and Biden even said he didn’t trust the numbers in the earlier days of this war.
On 2/24/2024, Biden’s and America’s spoke person John Kirby said that Netanyahu’s IDF are
protecting civilians more than American soldiers would--Perhaps subconsciously the
colonizing-settler hearts of John Kirby, Biden, and America consider the Gazans (Palestinians
in Gaza) and the Palestinians in the West Bank as animals (rats) so they don’t fit in their
definition of “civilians” to be qualified in their democracy protection of civilians in this war).
| am sure their Lord Jesus Christ would consider the Gazans, the Palestinians in the West
Bank, and the Palestinians abroad as humans or civilians because Jesus himself was born in
their homeland (historic Palestine in the last 400 years). Jesus was born in the same location
2,000 years ago next to the mouth of black Africa (top right area of Africa where the skin
shade is lighter than black, and more Muslim looking being next to Egypt). | am sure your
Lord Jesus as God’s son wouldn’t think he was an animal or a rat by being born in this
Palestinian area 2,000 years ago to have such compassionate heart as a man to come up
with such Godly words via God’s Christian door. | am sure the science of all races and
religions will confirm the Palestinians do fit the definition of human beings so they must be
considered as be civilians in a war, too. The internet via many news prominent websites and
even Israeli news websites said behind the door Biden called Netanyahu “an a...hole” and “a
bad f... guy.” As an ethnic American, |, Trang, would consider these names are names for
person who failed miserably in protecting civilians in this war through the action of his army
called the IDF. What do you think Kirby?

2. While us humanity mourns with Israel, Netanyahu, and his IDF for the highest Israeli deaths
and injured in one day in terrorist attack or war of the last 20 years, we should also mourn
Israeli’ enemies great loss too for this war kills both sides (Hamas initiated the war, and Israel
pushed the buttons to throw out indiscriminate bombs), or else the Hamas and their young
generation of international sympathizers won’t care. This Israel-Hamas war killed the
highest number of journalists in the last 30 years as stated by NPR in December, 2023
{around 120), and they are mostly Palestinian journalists. U.N. lost the highest number of
U.N. workers in a conflict (around 130) even though 12-13 U.N. workers are accused of being
Hamas by Netanyahu out of 13,000 U.N. workers around the world. Those Hamas-infected
U.N. workers are probably regular Palestinians being hired by U.N. to work in Gaza and they
got caught up in the Hamas movement and joined in, for U.N. condemned Israel for defying
its internation laws for stealing more of Palestinian land in the West Bank (Israeli and
American settlers) to be closer to Jesus’ birth town to rebuild this God’s Kingdom of theirs as
stated in their Bible for | believe Bethlehem (Jesus’ birth town) is part of the West Bank
which U.N.’s international law recognized as left-over land of the Palestinians after fighting
dated back to the 70’s or 80’s.

1. Some Palestinian journalists in the heart of Gaza was told by their Palestinian
refugee neighbors to shelter elsewhere because the IDF were sending rockets to
explode the house(s) of the journalists with their entire families in it (their parents
and their children). Even your Margaret of Face the Nation in February 2024
interviewed a white-sounding American journalist who recently went into Gaza with

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IDF as his guides and he said he saw no Palestinians around (probably a newly
created buffer zone between Gaza and Israel). He told Margaret that he thanked all
the courageous Palestinian journalists inside Gaza who risk their lives to send out
reports and pictures of the true devastation of this war (Al Jazeera Muslim News is
where you can get most of the pictures not shown in American news). He said
Netanyahu doesn’t allow any foreign journalists inside Gaza without his IDF’s strick
supervision to document the destructions of his revenge.

2. In December 22", 2023, US Defense Secretary Austin said that 50% Israeli bombs
are dirty bombs- dumb bombs, bombs missing targets, unnecessary bombs, wasteful
bombs, bombs that could be used to help Ukraine for Ukraine didn’t steal land from
Russian (Ukraine is not colonizing Russian land). After 2.5 months of bombing in the
dark with one eye closed, on KPFA radio with a self-hating American Jew as the host
and his guest was a woman monitoring the war, the woman informed the audience
that Netanyahu and IDF are asking Biden and America to send them slimer bombs--
These free, free, and free obese American bombs that Biden and America donated
were too too fat for anorexic Gaza to precisely strike the Hamas terrorist rats in
tunnels are running and hiding underneath, next to, between civilian buildings,
houses, hospitals, schools, churches, Mosques, etc. Most importantly, Netanyahu
and Biden might not know this, but an animal like me can see nearly 35-40% of Gaza
has been flattened via satellite pictures to CONCLUDE the possibility of some high
number of deaths of these Palestinian children who NEVER voted for the Hamas
terrorist animals as their government in which who started this war with its
colonizers (Israelis) for the severe Israel’s apartheid system as a democracy (with the
wholeheartedly support of the great American democracy) that prevent some of the
Gazan and West Bank children to see and get hugs from their grandparents, and get
candies from their grandparents who live outside their assigned territories. This
Israel-Hamas war marked the first war in humanity (Yes, Israelis: the Palestinians,
Gazans, and the Hamas terrorist animals fit the science definition as humans) to
have children as 40% of the population in the war zone. Furthermore, this war
marked humanity’s first war where the war zone is surrounded by military fencing
which prevented the children to flee; along with the smallest piece of war-zone land
in the size of 42 km or 26 miles (twice the size of Washington D.C. where 700,000
Americans live) where 840,000 children inhabit; and perhaps even the first war
where water was deliberated cut off for the children to drink, clean (washing hands
after bathroom #2 regime which probably lead to the recent eruption the hepatitis A
outbreak), and wash babies who just popped out in births.

C. The possibility of massive amount of dead Gazan children in South of Gaza (the last area
where Israel hasn’t completely bombed out (the safe zone), but the bombing has begun
already 2-3 days ago).

|, Trang, made an amateur theory that God punished the ancient Jews for nailing his son (Jesus) by
killing 6 million poor Jews who never nailed Jesus as collective punishment in Hitler’s German Nazi
closed-gas-warehouse-starvation camps for their ancestors’ sin. Now, around 2,500 years later, the
descendants of the ancient Jews who nailed God’s son are demanding the back their ancient Jew
ancestors’ land where Gad’s son Jesus was born by flaunting their Bible to rebuild this new God’s

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kingdom even at the cost of blood, deaths, and all land of historic Palestine (if possible, even though 75%
has been already stolen, and currently stealing more in the West Bank with Israeli and American settlers
conducting harassments, violence, and even kill Palestinians while stealing land, olive crops, and recently
destroyed 40 baby olive trees from Palestinian farmers during the war. Netanyahu called all these
actions as “peace keeping actions” to prevent uprising of the Palestinians in their own West Bank
territory). Even though the Palestinians and their ancestors have been living historic Palestine (now
Israel) for ONLY the last 400 years, the Hamas terrorist animals said they are fighting to defend the land
where their Muhammad died and went to heaven. One of the top Hamas terrorist animals who
currently being hunted down in Gaza by Israel was one of the children whose parents were killed and
kicked out of historic Palestine since 1947. The Israelis claim the land was given to them by God, but
God via the British only gave the Jews from the Nazi camps around 10-15% of historic Palestine land in
1945 when the British was first white colonizer that land/country. Now after 75 years, Israelis own 75%
and more of historic Palestine land thanks to the yearly welfare checks and bombs of 3.5 billion dollars of
hard-earned tax money of the bananas of America (the finance commissioner of Israel proudly stated
that Israel is not a “banana republic of America” on 2/5/2024 for Biden’s sanctions on 4 Israeli settlers as
his effort to win votes. Biden calmed the American bananas down by stating that he didn’t impose
sanction on any “American” settlers in the West Bank).

What do you think God’s punishment would be for those Western “colonizer’s heart” countries, the
Asian “colonizer’s heart” country called Japan, and the Hindu Asian country that forgot its painful British
colonizing past called India who support Israel to steal more of Jesus birthland knowing that the
ancestors of the Israelis nailed God’s son Jesus while they all sing, dance, and come out of their gay
closets to celebrate their great civilized democracy of freedom, freedom, freedom, and equality for all by
chanting the Jewish religious words of “all men are created equal” in America, Israel, Europe, and around
the world?

Permanent ceasefire now and return all poor hostages of the Hamas and poor prisoners of Israel’s
administrative detention with our God’s or Allah’s forgiving hearts for our lost enemies. The Hamas
terrorist government only leaves if the Israel democracy colonizing terrorist government of Netanyahu
and his IDF leaves. Thank heavens there are self-hating Jews in the West Bank, America, Europe, around
the world, and perhaps even Israel to help the Gazans and the Palestinians to get their freedom, and
most importantly to prevent a collective punishment which might involve them and their self-hating
Jews children and grandchildren in a WWWIII as we old farts die off. Palestine belongs to the young
generation (all pro-Hamas protestors around the world are mostly young farts of all races while pro-
Israel protestors are mostly old white-looking farts). If the children of the Palestinians who were killed
and got driven off their land since 1947 can create this pain on Israeli on October 7", imagine what the
surviving children in South of Gaza would do after we die if Netanyahu, his IDF, and Biden are allowed to
flatten the last section in Gaza which started 2-3 days ago with American free, free, and free bombs.

Peace now to the Gazans, Israelis, Palestinians, and the world before God sprinkles us with nuclear
bombs. Take care suckers. Off to prepare for a WWWIII if the human animals can’t wait for A.I. to do the
job for God to kill off poor planet earth’s human cancer.

Tell your enemies that you care for the future of your innocent children, grandchildren, and race in
this Holy land where Jesus was born, Muhammad died and went to heaven, and your ancient Jew
ancestors lived 2,500 years ago so you are willing to take the first step of a permanent ceasefire and let’s
release all hostages and administrative detention prisoners, and be BFF’s.

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10/2023 13-year-old Christian Palestinian boy died with family in church bombed by idf.
-Self-hating jewish children said Israel is doing collective punishment in Gaza.

12/14/2023 KPFA radio’s show called Flashpoint by a Jew man at 6:20 p.m. interviewed a female
Palestinian journalist. She said “American buudoseres called Caterpiller driven by IDF flattened the
rubbles where still-alive people might be buried after bombings. Trang said how is this not a genocide
according to American democracy’s standard to protect Isarel’s democracy at all cost? She said in the
Israel, Palestians are banned to sing Happy Birth song in Arabic. Imagine America prevents the Indians
and the Latinos to sign happy birth in their languages to force them to only use English? Trang said this
is what America 100 years ago would do, but to support Israel’s democracy at all cost is no wonder the
end of the American empire for its blatant hypocricy of the democracy values. Yeah folkd, this Israe-
Hamas war will end all America’s credibility with the world and its young generation who wants to make
things right. The next empire is China-Russia-Asia spanning from the Middle-East to the East. Then it
will be the African empire with South Africa’s work in it genocide lawsuit against Israel (ONLY IF BLACK
SOUTH AFRICANS STOP KILLING WHITE SOUTH AFRICAN FARMERS TO END IT HYPROCISY REVENGE, TOO,
LIKE THE ISRAELI AND AMERICAN SERTTLERS IN THE WEST BANK KILLING PALESTINAINS AND STEAL
THEIR LAND) WITH GOD SENDNG DOWN A BLACK AFRICAN REPRESENTATIVE TO HELP THAT POOR
CONTINENT WHILE CHINA HAS BEEN HELPING TO REBUILD AFRICA WAY BEFORE AMERICA DID.

12/21//2023 on KPFA AT 6 P.M. BAY AREA, a Palestinian man cried on radio saying his mother and sister
were stacking against the wall while on the phone with him saying “I love you” as idf were bombing here
their house. He couldn’t be there for them.

12/24/2023 IDF Bombed another Safe zone refugee area
killed 70 the day before Jesus was born. |, TRANG,
WANTS TO ASK THE CHRISTIANS IF THEY WERE THE
ISRAELIS FIGHTING THIS WAR, WOULD THEY REDUCE THE
BOMBING A BIT ON THE EVE OF THEIR CHRISTIAN JESUS’
BIRTH AND ON CHRISTMAS DAY WHILE FIGHTING FOR
JESUS’ LAND? ISRAELIS DON’T CARE FOR YOUR JESUS.
JUST CHECK HOW MANY GAZANS DIED THE DAY BEFORE
AND THE DAY OF YOUR JESUS BIRTHDAY WHILE YOU ARE
CHEERING ISRAELIS, IDF, AND SENDING YOUR FREE
AMERICAN BOMBS. | WOULD THINK THE ISRAELIS
WOULD BE A BIT CONSIDERATE FOR NOT BOMBING TOO
Oppoxhbr fot, Durwnl

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MUCH ON THE EVE AND ON THE BIRTHDAY OF JESUS
CONSIDERING IT WAS JESUS PEOPLE AND THEIR JESUS
MONEY THAT SENT THEM THE FREE BOMBS THEY ARE
FIRING OFF INDISCRIMINATELY. PERHAPS, | HAVE TOO
MUCH COMPASSION AS A WOMAN AND AS A BUDDHIST
TO APPRECIATE MY FREE GIFTS. THEN AGAIN, | WOULD
BE A FOOL TO THINK THAT THE ISRAEL! WOULD CARE
ABOUT JESUS BIRTHDAY WHEN THEIR DNA’S FROM THE
PAST (ANCIENT JEWS) NAILED JESUS. NO WONDER THE
POPE POPED OUT HIS HEAD AND SAID TERRORISM WORK
BY IDF WHEN THEIR SNIPER SHOT 2 CATHOLIC FEMALES
TO DEATH (A MOTHER RUNNING OUT OF AN ANCIENT
CATHOLIC CHURCH TO GO TO THE RESTROOM AND HER
DAUGTHER RUNNING OUT TO PULLING HER INJURED
BODY. NO WONDER THE FINANCE MINISTERS OF ISRAEL
DARED TO CALL YOU WHITE AMERICANS AS BANANAS
WHEN HE SAID “ISRAEL 1S NOT A BANANA STATE OF
AMERICA” AFTER BIDEN IMPOSED 4 SSANCTIONS ON 4
MINOR SETTLERS IN THE WESTBANKS WHILE WAITING
FOR ANOTHER OBESE CHECK TO BE APPROVED IN THE
HOUSE AFTER THE SENATE VIA MIKE JOHNSON SIGNED A
BILL FOR IT AFTER THE BORDER BILL GOT REJECTED. IN
THE MEANTIME, YOU AMERICAN BANANAS ARE
CHEERING FOR ISRAELS AND IDF. |, TRANG, NOW

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COMPLETELY UNDERSTAND WHY JESUS WAS NAILED FOR
THE SINS OF HIS PEOPLE (JESUS PEOPLE AND CHRISTIANS
AND EVEN JEWS AND ISRAELIS). Before this war, | often
thought, why would God kill Jesus for Jesus’ people’s
sins. Now | see the point. Shame shame America, Jesus
people, Christians, Jews and Isralies. Shame shame for
me, Trang, too for living in America and sucking and
making money out of Jesus’ name. Sorry Jesus. | am
doing everything | can to stop your people (even
relinquishing my American citizenship eternally to
protests) from killing your integrity as the man nailed
hanging onto what’s left of his starving and dehydrated
life while his people enjoy so much food and beer that
the fat ate all their bodies up into human obese and fat
blobs with guns and bombs while calling themselves
civilized, equality, and freedom people.

| TOLD YOU CHRISTIANS IN AMERICA THAT YOU HAVE
JESUS’ HEART BY BEING VERY GENEROUS TO HUMANITY
BY DONATING MONEY, FOOD, MEDICINE; HOWEVER
YOUR YEARNING FOR JESUS’ BIRTHLAND BY HELPING TOE
ISRAELIS TO KNOCK OUT THE PALESTINIANS IN THE LAND
FOR THE LAST 400 YEARS IS NOT FOLLOWING JESUS’
PATH. IT’S FOLLOWING SATAN’S PATH TO SATISFY YOUR
COMPLETE CONTROL OF JESUS’ EVERYTHING. FOLLWING

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SATAN’S PATH IS ONLY A TEMPORARY SOLUTION.
FOLLOWING JESUS’ PATH TO HAVE A PERMANENT
CEASEFIRE AND LET’S COMPROMISE BASED ON BOYCOT
AND HUMAN’S REASONING.

12/25/2023 Al Jezeera said israel hits Betlehem (JESUS TOWN)in the west bank with raids. West bank is
not even the war zone like gaza. Hamas fired from gaza, not west bank. Idf attacked jenin refugee camp
and several arrested.

12/26/2023 IDF said they will check when it is reported that Red Crescent headquarter was bombed and
4-5 staff was killed.

12/29/2023 on Bloomberg radio on A.m. chanel, and IDF rep said israel is sad and grandy that U.N.
won't condemn Hamas for deadly rockets at Israel in civilian area so Israel has the right to bomb. Trang
said it’s probably you stole their landand treat their people like animals, so go ahead and fight each
other to death, BUT NOT ON MY HARD-EARNED ETHNIC AMERICAN TAX DOLLARTS (EVEN IF 1 PAID A
PENNY).

-First Voice Media (indigenous-american radio on KPFA)
interviewed Palestine Freedom Project woman and she said
Israel won’t let her go back in Gaza or Palestine. TRANG SAID
TO AMERICANS THAT IF YOU WANT THOSE PRO-HAMAS
PROTESTORS TO GO BACK WHERE THEY BELONG OR TO GAZA
OR PALESTINE, YOU HAVE TO TELL ISRAEL THAT YOU WON’T BE
SENDING THEM YOUR HARD-EARNED TAX DOLLARS AND
WEAPONS TO DEFEND YOUR OWN LAND IF THEY DON’T OPEN
THE DOORS FOR THE HAMAS LOVERS TO RETURN TO GAZA AND
PALESTINE. ISRAEL IS SCARED TO DEATH TO ALLOW THEM TO
RETURN FOR FEAR THE POPULATION OF GAZA AND THE
WESTBANK WILL BE SO HIGH ISRAEL WON’T BE ABLE TO
CONTROL THEM. THAT’S WHY ISRAEL WANTS THAT BURDEN
ON YOU AMERICAN BANANAS. ISRAEL RATHER SEE THEM
HAMAS LOVERS IN AMERICAN DOING TERRORISM WORK ON

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AMERICAN SOIL WHILE ISRAEL SUCKS YEARLY AMERICAN
WELFARE IN MONEY AND BOMBS THAN OPEN THE DOOR FOR
THEM HAMAS LOVERS IN AMERICA TO RETURN TO ISRAEL,
GAZA, AND THE WEST BANK. GO NETANYAHU, GO IDF, AND GO
ISRAEL FOR YOU HAVE OUTSMARTED BIDE, AMERICAN TROOPS,
AND AMERICANS.

-AL JEZEERA SAID IRAN JUST EXCUTED 4-5 IRANIANS SPYING
FOR ISRAEL AND 1 OF THE CHARGES IS SINS AGAINST God. See
America, even your Iran enemy is fighting for God so this is their
religious war, too. That’s why you see those religious jihadis in
your American land doing their God’s work to cause pain on
your americans in return of you causing pain on therm stealing
land where their Muhammad died and went to Heaven
(Palestine), and placed your American troops all over their
religious muslim land.

1/2/2024 5 Palestinian Red Crescent (Red Cross) in headquarter located in hospital died.

-Monkeys died of starvation in zoo. Trang said Gaza has zoo? Not too poor before war then to have a
zoo, but still extremely poor compared to rest of the world.

-Laith Arabeth, IDF soldier, pictured abducitnga Gazan infants into Israel.picture on X social website: MSF
1/7/2024 John Pilger friend of KPFA radio died
1/9/2024 Gazan dentist's family (mother and a few children) died in IDF bomb as they sheltered. .

Only 3 doctors left in Al-Aqsa
- A5-year-old daughter of a doctor of Doctors Without Borders at Hospital in central Gaza died

1/22/2024 UNICEF said 6 dead Gazan mothers performed emergrncy cesazn births without anesthisia.
In this war, | learned that Jesus’ mother also had difficult time carrying Jesus for she had to flee violence,
too. Poor women.

1/25/2024 Israel bombed where people are waiting for humanitarian aidkilling 20, and injury 150. That
person reported asked, “HOW IS THIS NOT A GENOCIDE?’

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-IN THE West Bank, 17 year old American Palestinian boy from Luisianna shot dead by IDF while driving
in a truck to get bbq equipment for rock throwing activity. Later, |, Trang heard IDF killed because they
suspected he was working for Hamas.

1/26/2024 DailyMail.com said UN will fire 12 UN workers suspected to be Hamas participating on 10/7.

-KPFA said NO MAJOR NEWS QUTLETS REPORTED ON TODAY’S ICF’A JUDGMENT ON AFRICAN GENOCIDE
CASE AGAINSTISRAEL.

-US IMMEDIATELY SUSPENDED FUNDING TO UN WHILE 12 UN WORKERS ARE BEING INVESTIGATED OF
BEING HAMAS WHILE THE GAZANS NEED THE MONEY THE MOST FOR WATER, FOOD, MEDICINE, AND
ELECTRICITY. 1, TRANG, SAID, THE US WAS IN NO HURRY TO SUSPEND THE BOMB GIFTING TO ISRAEL
EVENTHOUGH IT KEEPS YELLING AT ISAREL FOR DOJNG MORE TO PROTECT CIVILIANS WITH BOMBINGS
AND ALLOWING AID TRUCKS TO GET IN, AND EVENTHOUGH IN LATE DECEMBE, LLOYD AUSTINS SAID
50% OF ISAREL’S BOMBS IN GAZA ARE DIRTY BOMBS. U.S. RATHER KILLED GAZAN WITH BOMBS,
STARVATION, DEHYDRATION, WITH NO MEDICINE AND ELECTRICITY FOR SURGERY AND CHILDREN AND
PATIENTS IN LIFE SUPPORTING MACHINE FOR 12 UN WORKERS YET TO BE CONFIRMED IN
INVESTIGATION OF BEING HAMAS. NETANAHU CAME OUT ACCUSING THESE 12 UN WORKERS OF BEING
HAMAS THE DAY AFTER THE UN’S COURT ICJ ISSUED A RULING THE THE SOUTH AFRICA GENOCIDE CASE
AGAINST ISRAEL COULD GO FORWARD AND ORDER ISAREL TO SUBMIT A REPORT ON HOW THEY PLAN
TO PROTECT CIVILIAN LIVES IN BOMBING AND AID TRUCKS TO PREVENT ACTS OF GENOCIDES.

-500 MEDICAL WORKERS HAVE DIED ALREADY. LITTLE VACCINES, NO MEDCINE FOR FLU AND COLD
SICKENESS

-on npr of a show called “this American Life” with the host a a young male Jew (I think) recording the
story of a young Mother who left Gaza to Egypt. She was in so much rage that she couldn’t talk. Her
family suggested she gets therapy. She told her female cousin that she saw kid(s)blown up into pieces
because of IDF bombs. She snapped at her cousin asking her to go out and have fun by saying”how can
you go out when people are dying?” her father cried with her daughter after er daughter was shocked
to discover water coming out of the faucet in which at first the daughter said’ there’s no water.”

-Face the nation show on radio via KCBS news with reporter name CHarliesaying he’s grateful for all the
journalists in GAZA to send information out because he was onlyallowed to be in the new buffer zone
area as a journalist accompanied by IDF and he didn’t see any Palestinians. Netanyahu wouldn’t let any
foreign journalists in.

-112 Gaza Journalists died.

-save the Children organzition said only about 25% of aid trucks are allowed into GAZA. Delivery in
North Gaza isnearly imposible.

-Israel said it will investigate 4 settlers attacked 2 truck drivers into Gaza. Around
this time, |, trang, was shocked to hear that Members the hostages are blocking
aid trucks to enter from the West Bank to protest against Hamas when aid trucks
deliver food, water, and medicines to keep your precious hostage family members

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alive so hamas can use them to make better deals, especially those poor infant
and toddler hostages for they make more valuable war chips for Hamas.

1/29/2024 Israel said that it would investigate 1 Palestinian man walking with 4 other men in West Bank
with hands up with white flags.

1/3/204 KPFA radio said at 6p.m. said conservative Israel had a conference to take back Gaza & said God
gave us permission to rebuild God’s land.

-NPR radio at 7.p.m. said that at a West Bank hospital, IDF disguised as a female and Males with
Palestinian beards killed 3 Hamas living as patients (2 brothers) WITHOUT SHOWING EVIDENCE THEY
ARE HAMAS. NO ARREST, NO JAIL, NO COURT, JUST KILL AS JUSTICE OF ISRAEL DEMOCRACY THAT
AMERICAN DEMOCRACY ISSUPOORTING AT NO COST.

1/31/2024 Al Jezeera news said 30 bodies P???????rrrer?

2/20/2024 Al Jezeera said US state department spokesperson Mathew Miller responding to allegations
of sexual abuse of Palestinian detainees by IDF saying to Israel, “we have ben clear that the civilians and
detainees must be treated humanely and in accordance with international humanitarian land.” While we
are trying to past this mike johnson’s obese check to you dear IDF and Israel to do more killing hamas
work. The last sentence was my sarcastic work plugging the action of America while trying to express
concerns about israel’s possible wrongdoings. OH AMERICA, THIS WILL BE THE END OF YOUR EMPIRE
FOR THE WORLD AND YOUR CHILDREN SEE YOUR HYPOCRISY FOR SENDING BOMBS TO KILL THOUSANDS
OF CHILDREN WHO NEVER VOTED FOR THE HAMAS AS THEIR GOVERNMENT. WHOSE GOING TO WANT
TO FOLLOW THAT AS THEIR LEADERS? AND YOU ARE BROKE WITH 35 TRILLIONS IN DEBT. { MIGHT BE
BROKE TOO BUT ATLEAST BEING SEMI-HOMELESS WITH LITTLE BILLS, | PAID OF $30k IN CREDIT CARD
DEBTS SINCE | BECAME CRIPPLED AND MENTAL AND LOST MY CONDO. AND | TAMED MY SPENDING TO
NEARLY NOTHING LIVING A HEALTHY BY COOKING SIMPLE FOOD FOR MYSELF AND REDUCED BY
SPEDNING BY 90%. PLUS AMERICA, YOU’RE TOO GAY AND FAT, TOO WRINKLY FROM GOING OUT INTO
THE SUN WHEN YOUR BEAUTIFUL WHITE SKIN IS NOT MADE FOR THE SUN-- THAT’S WHY YOUR YOUR
CHILDREN HAVE SIGNED THEMSELVES INTO MINNIONS OF CHINA VIA TIKTOK AND MORE IN THE FUTURE
IF YOU DON’T VOTE FOR A CEASFIRE IN UN COUNCIL MEETING AND STOP SENDING BOMBS AND
WEAPONS TO ISRAEL. NOT MY PROBLEM FOR I AM LEAVING YOU TO RETURN TO MY POOR BIRTHLAND
VIETNAM. | DON’T THINK VIETNAM WILL BE BOMBED IN THE NEXT 50 YEARS. | AM NOT A MINNION TO
CHINA SO 1 WILL NEVER SIGN MYSELF ONTO TIKTOK FOR CHINA TRY TO KILL VIETNAM A FEW YEARS
AGO FOR SOME LAND DISPUTE AND POISONED VIETNAM WATER TO KILL SO MANY POOR FISH.

2/21/2024 KPFA via a Jewish person interviewing a hospital male worker with an American accent
returning to Chicago from Gaza said” DOCTORS ARE FORCED ON ALL FOURS CRAWLING AROUND WITH
LEASHES AROUND THEIR NECKS IN WITH THEIR UNDIES INFRONT OF THEIR COLEAUGES AND OTHER
PRISONERS BECAUSE IDF HASN’T HAD ANY LUCK FINDING HAMAS IN HOSPITAL.”

2-24-2024 Al Jazeera reported that an IDF Izador Elgabril posted on his TikTok account celebrating and
laughing saying “a little BBQ is great fun” after burning a residential building in Zeitoun neighborhood

2/25/2024 Al Jezeera said 2 sisters were shot looking for food outside agriculture land in in Nothern
Gaza in Beit Lahiya. Hunger forced sisters to go to dangerous places in order to get food, Hadeel Aghtais

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died but her sister Iman Aghlais survived. Another child who witnessed the murder said Hadeel was shot
twice (heart and jaw), and “Even the donkey was injured, we are hot guilty of all this, we want a
solution.”

-Last time food was delivered to Northern Gaza was January 23. 2-
month old palestian babied died from starvation northern Gaza

-Orthodox Jews vandalized graves in Jerusalem and took over Muslim shrine.

-SOMEONE JUST SET HIS/HERSELF ON FIRE AT THE ISRAELI
EMBASSY IN D.C. LIKE THE BUDDHIST MONK SET HIMSELF ON
FIRE TO PROTEST AGAINST THE VIETCONG TO END THE WAR.
HOW SAD. ANOTHER ‘WEIRD’ COINCIDENCE COPYING A
BUDDHIST MONK SETTING HIMSELF ON FIRE AND | AM THE
FEMALE BUDDHA COMING OUT IN FULL FORCE THIS WEEK
USING THIS LAWSUIT TO DECLARE WHO | AM AND NOT BEAT
AROUND THE BUSHES AND SAY “I THINK | AM, | CLAIM | AM.”

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PRIZE PAYMENT INFORMATION veal od iC Desf tl.
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Failure to provide your original signed ticket with date Ce birth, legal nde , complsta address (including

apartment or space number, city, state, zip code), email and phone number may delay or prevent the Gna.

California State Lottery (Lottery) from processing your prize claim. Claims submitted to Lottery Headquarters for
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Lottery prizes are not subject to California state income tax. The Lottery is required by federal tax law to withhold
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‘ 1. Print your legal name, street address, city, state, and zip code on the back of the ticket.
2. Sign your name on the back of the original ticket.
. XY 3. Complete the Claimant Information and Ticket Information sections on the first page of thisform.

5. Staple your original ticket to the front of this form.
8 KEEP A COPY OF THIS FORM AND A COPY OF THE FRONT AND BACK OF THE TICKET.
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a 4. Sign the first page of this form with ink. (ONLY ONE SIGNATURE IS PERMITTED)
“SS

Deliver the completed claim form with original ticket to any Lottery District Office. Location and
> —/ directions can be found at www.calottery.com.

& SS_OR, MAIL THIS CLAIM FORM, AT YOUR OWN RISK, WITH THE ORIGINAL TICKET STAPLED ON THE FRONT,

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QV TO: California Lottery, 730 North 10th Street, Sacramento, CA 95811-0336

8 R Call 1-800-LOTTERY(568-8379), or visit any Lottery District Office to request a Multiple Ownership Claim
form for group players (less than 100) sharing prizes of $1,000,000, or more.

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The Information Practices Act of 1977 (Cal. Civ. Code §§1798-1798.78, the Federal Privacy Act (Public Law 93-579},5 =
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y The Claimant information requested on this form will be used to validate and process your claim in accordance with
the California State Lottery Act of 1984 (Gov. Code §8880 et seq.). The Lottery requests a player's social security or
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. §§6011, 6041, 6109, 3402, and the regulations enacted thereunder.

Claimant Information you provide may be disclosed to various state and federal government agencies, including S

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but not limited to: the State Controller's Office, Franchise Tax Board, Health and Welfare Agency, and the Internal __
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You have the right to access your personal information maintained by the Lottery by contacting the California |
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3 Purpose and Relevancy of information Collected: Information is collected to validate and process a claim and for «
purposes of sales, marketing, research, security investigation, legal review, surveys, and strategic planning as related =
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3 legal claims, known or unknown, related to the specified uses set forth herein. The California Lottery is subject toz
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